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  AO 245B      (Rev. 09/11) Judgment in a Criminal Case
               Sheet 1




                                           United States District Court
                                                                    District of Columbia


               UNITED STATES OF AMERICA                                             JUDGMENT IN A CRIMINA
                                   V.
                                                                                                                           TfLED
                         GINA M. ADAMS
                                                                                    Case Number: 14-161 (CKK)                 DEC 2 3 2014
                                                                                                                       Clerk, U.S. District&Bankruptcy
                                                                                    USM Number: 33457-016
                                                                                                                      Courts for the District of Columbia
                                                                                     J. Dennis Murphy, Jr. and Warren Duryea Price
                                                                                    Defendant's Attorney
  THE DEFENDANT:

  ^pleaded guilty to count(s)           One (1) of the Information
  • pleaded nolo contendere to count(s)
    which was accepted by the court.
  • was found guilty on count(s)
    after a plea of not guilty.

  The defendant is adjudicated guilty of these offenses:

  Title & Section                  Nature of Offense                                                          Offense Ended             Count

   18 USC§ 1001                      Making a False Statement                                                  March 20,2014




         The defendant is sentenced as provided in pages 2 through                          of this judgment. The sentence is imposed pursuant to
  the Sentencing Reform Act of 1984.
  • The defendant has been found not guiltyon count(s)
  • Count(s)                                               •   is     • are dismissed on the motion of the United States.

          Itis ordered that the defendant must notify the United States attorney for this district within 30 days ofany change ofname, residence,
  ormailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. Ifordered topay restitution,
  the defendant must notify the court and United States attorney of material changes in economic circumstances.

                                                                              December 17, 2014
                                                                             Date of Imposition of Judgment




                                                                             Signature of Judge




                                                                              Colleen Kollar-Kotelly                     U.S. District Judge
                                                                             Name and Title of Judge



                                                                                                       /X
                                                                             Date




(m)
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AO 245B         (Rev 09/11) Judgment m a Criminal Case
                Sheet 4—Probation

                                                                                                             Judgment—Page            of
DEFENDANT                GINAM ADAMS
CASBNUMBER                   14-161 (CKK)
                                                                   PROBATION

The defendant is hereby sentenced to probation for a term of

    Forty-eight (48) Months on Count One (1) of the Information




The defendant shall not commit another federal, state or local crime
  The defendant shall not unlawfully possess a controlled substance The defendant shall refrain from any unlawful use of a controlled
substance The defendant shall submit to one drug test within 15 days of placement on probation and at least two periodic drug tests
thereafter, as determined by the court
•          The above drug testing condition is suspended, based on the court's determination that the defendant poses a low risk of
           future substance abuse (Check if applicable)

 bT        The defendant shall not possess a firearm, ammunition, destructive device, or any other dangerous weapon (Check f applicable)

 sT        The defendant shall cooperate in the collection of DNA as directed by the probation officer (Check f applicable)

•          The defendant shall comply with the requirements of the Sex Offender Registration and Notification Act (42 U S C § 16901, et seq)
           as directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in which he or she resides,
           works, IS a student, or was convicted of a qualifying offense    (Check ifapplicable)
 •         The defendant shall participate m an approved program for domestic violence (Check f applicable)
              If thisjudgment imposes a fine or restitution, it is a condition of probation thatthe defendant payin accordance with the Schedule of
Payments sheet of mis judgment
              Thedefendant must comply withthestandard conditions thathavebeen adopted bythiscourtas wellaswithanyadditional conditions
 on the attached page

                                            STANDARD CONDITIONS OF SUPERVISION
      1) the defendant shall not leave thejudicial district without the permission of the court or probation officer,
     2)      the defendant shall report to the probation officer in a manner and frequency directed by the courtor probation officer,
     3)      the defendant shall answer truthfully all inquiries by the probation officer and follow the instructions of the probation officer,
     4)      the defendant shall support his or her dependents and meet other family responsibilities,
     5) the defendant shall work regularly at a lawful occupation, unless excused by the probation officer for schooling, training, or other
             acceptable reasons,
     6)      the defendant shall notifythe probation officer at least ten days prior to any change in residence or employment,
     7)      the defendant shallrefrain from excessive useof alcohol and shall not purchase, possess, use, distribute, or administer any controlled
             substance or any paraphernalia related to any controlled substances, except as prescribed by a physician,
      8)     the defendant shall not frequent places where controlled substances are illegallysold, used, distributed, or administered,
      9)     the defendant shall not associate with any persons engaged in criminal activity and shall not associatewith any person convicted of a
             felony, unless granted permission to do so by the probation officer,
     10)     the defendant shall permita probation officerto visit him or her at any time at home or elsewhereand shall permitconfiscation of any
             contraband observed m plain view of the probation officer,
     11)     the defendantshall notify the probation officerwithinseventy-two hours of beingarrestedor questioned by a law enforcement officer,
     12)     the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without the
             permission of the court, and
     13)     as directed bythe probation officer, the defendant shall notify thirdparties of risks thatmaybe occasioned bythe defendant's criminal
             record or personal history or characteristics and shall permit the probation officer to make such notifications and to confirm the
             defendant^ compliance with such notification requirement
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          Sheet 4C — Probation

                                                                                            Judgment—Page    o     of
DEFENDANT         GINAM ADAMS
CASENUMBER           14-161 (CKK)

                                       SPECIAL CONDITIONS OF SUPERVISION

 The Defendant shall provide the Probation Office with your income tax returns, authorization for release of credit
 information, and information about any business or finances in which you have a control or interest until the restitution
 obligation is satisfied

 The Defendant is prohibited from incurring new credit charges, opening additional lines of credit, or negotiating or
 consummating any financial contracts without the approval of the Probation Office

 The Defendant shall pay the balance of any restitution owed at a rate of no less than $50 each month and provide
 verification of same to the Probation Office


 The Defendant shall contribute 1CO hours of community service, over the Two (2) years of probation

 The probation office shall release the presentence investigation report to all appropriate agencies in order to execute the
 sentence of the Court
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AO 245B      (Rev 09/11) Judgment in a Criminal Case
             Sheet 5 — Criminal Monetary Penalties
                                                                                                                  Judgment — Page     4      of
DEFENDANT              GINA M ADAMS
CASENUMBER                14-161 (GKK)
                                                 CRIMINAL MONETARY PENALTIES

       The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6


                        Assessment                                               Fine                                   Restitution
TOTALS               S 100 00                                                $                                       $ 10,000 00



•      The determination of restitution IS deferred until                        An Amended Judgment in a Criminal Case(A0 245Q will be entered
        after such determination


Sf The defendant must make restitution (including community restitution) to the following payees in the amount listed below
        Ifthedefendant makes a partial payment, each payee shall receive an approximately prop^ortioned payment, unless specified otherwise in
        the priority order or percentage payment column "below However, pursuant to 18 U S C § 3664(i), all nonfederal victims must be paid
        before the United States is paid

Name of Payee                                                                     Total Loss*           Restitution Ordered         Priority or Percentage

     United States Office of Personnel Management                                                                   $10,000 00
     Federal Investigative Services

     ATTN Integrity Assurance Group

     1900 E Street NW, Room 6H31

     Washington, DC 20415




TOTALS                                 $                              0 00           $                 10,000 00


 •       Restitution amount ordered pursuant to plea agreement $

 •       The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
         fifteenth day after the date of the judgment, pursuant to 18 U S C § 3612(f) All of the payment options on Sheet 6 may be subject
         to penalties for delinquency and default, pursuant to 18 U S C § 3612(g)

 ^       The court determined that the defendant does not have the ability to pay interest and it is ordered that
             the interest requirement is waived for the           •       fine   ^ restitution
         •   the interest requirement for the          •   fine       •      restitution is modified as follows



 * Findings forthe total amountoflosses are required underChapters 109A, 110, 1IDA, and 113Aof Title 18for offenses committed on or after
 September 13, 1994, but before April 23, 1996
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A0 245B    (Rev 09/11) Judgment in a Criminal Case
           Sheet 6 — Schedule of Payments

                                                                                                          Judgment — Page           of
DEFENDANT             GINA M ADAMS
CASE NUMBER              14-161 (CKK)


                                                         SCHEDULE OF PAYMENTS


Having assessed the defendant's ability to pay, payment of the total criminal monetary penalties is due as follows

A          Lump sum payment of $                                due immediately, balance due

           •       not later than                                   , or
           •       in accordance        •     C,     •    D,   •      E, or     ^ r below, or
B     •    Payment to begin immediately (may be combined with                 • C,     • D, or     DP below), or

C     •    Payment in equal                   (eg weekly monthly quarterly) installments of $                             over a period of
                        (eg months oryears), 10 zommQWZQ                   (eg, 30 or (50 rfays) after the date of this judgment, or

D     •    Payment in equal                          (e g weekly monthly quarterly) installments of $                       over a period of
                           (e g months or years), to commence                     (e g 30 or 60 days) after release from imprisonment to a
           term of supervision, or

E     •    Payment during the term of supervised release will commence within                (e g 30 or 60 days) after release from
           imprisonment The court will set the payment plan based on an assessment of the defendant's ability to pay at that time, or

 F    sf Special instructions regarding the payment ofcriminal monetary penalties
               The Court finds that you do not have the ability to pay a fine and, therefore, waives imposition of a fine in this case
               The special assessment and restitution are immediately payable to the Clerk of the Court for the U S District
               Court, District of Columbia Within 30 days of any change of address, you shall notify the Clerk of the Court of the
               change until such time as the financial obligation is paid in full The Court waives any interest or penalties that may
               accrue on unpaid balances

 Unless the court has expressly ordered otherwise, ifthis judgment imposes imprisonment, payment ofcriminal monetaiy penalties is due during
 imprisonment All criminal monetary penalties, except those payments made through t"he Federal Bureau of Prisons' Inmate Financial
 Responsibility Program, are made to the clerk of the court

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed



 •    Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number). Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate




 •    The defendant shall pay the cost of prosecution

 •    The defendant shall pay the following court cost(s)

 •    The defendant shall forfeit the defendant's interest in the following property to the United States




 Payments shall be applied in the following order (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
 (5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs
